

Matter of Harrison (2023 NY Slip Op 03830)





Matter of Harrison


2023 NY Slip Op 03830


Decided on July 13, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:July 13, 2023

PM-141-23
[*1]In the Matter of Richard Lee Harrison, an Attorney. (Attorney Registration No. 5532288.)

Calendar Date:July 3, 2023

Before:Garry, P.J., Clark, Pritzker, Ceresia and McShan, JJ.

Richard Lee Harrison, West Orange, New Jersey, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Richard Lee Harrison was admitted to practice by this Court in 2017 and lists an address in West Orange, New Jersey with the Office of Court Administration. Harrison now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Harrison's application.
Upon reading Harrison's affidavit sworn to May 1, 2023 and filed June 23, 2023, and upon reading the June 28, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Harrison is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Clark, Pritzker, Ceresia and McShan, JJ., concur.
ORDERED that Richard Lee Harrison's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Richard Lee Harrison's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Richard Lee Harrison is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Harrison is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Richard Lee Harrison shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








